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 9
                                  UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
11
      PURUSHOTHAMAN RAJARAM, EKTA
12    BHATIA, QUN WANG, MICHAEL
13    BROWNE, and WILLIAM AUSTIN WEBB,                   Case No. 3:22-cv-02920-LB

14                           Plaintiffs,                 THIRD AMENDED COMPLAINT

15              v.
                                                         FOR EMPLOYMENT DISCRIMINATION
16                                                       CLASS ACTION
      META PLATFORMS, INC.,
17                       Defendant.                      JURY TRIAL DEMANDED
18

19

20          Plaintiffs Purushothaman Rajaram, Ekta Bhatia, Qun Wang, Michael Browne, and William
21   Austin Webb bring this action on behalf of themselves and a class of similarly situated individuals to
22   remedy pervasive, ongoing citizenship discrimination by Defendant Meta Platforms, Inc. 1 (hereafter
23   referred to as either “Facebook” or “Meta”) and allege as follows:
24

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26          1
              Facebook, Inc. changed its corporate name from Facebook, Inc. to Meta Platforms, Inc. in
27   October 2021, but is still commonly known as Facebook. See Meta Platforms, Inc. Form 10-K at 3,
     available at https://bit.ly/3LxDXMt.
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 1                                        NATURE OF THE ACTION
 2          1.        Meta is an American technology conglomerate that builds products designed to enable
 3   users to connect with each other through mobile and in-home devices, computers, and virtual reality
 4   headsets. Its most popular products include Facebook (a social networking platform), Instagram (a
 5   photo and videosharing platform), Messenger (a messaging application), WhatsApp (a secured
 6   messaging application), and Meta Quests (which designs virtual reality products). Meta employs
 7   around 67,300 individuals globally, and as of 2021 (the most recent EEO-1 data available), 56,034
 8   of its employees were located in the United States.
 9          2.        When hiring for U.S. positions, Meta considers United States citizens, lawful
10   permanent residents (e.g., green card holders), and foreign citizens with proper work permits (e.g.,
11   H-1B or L-1 visa holders). But while visa holders make up just a fraction of the United States labor
12   market, Meta prefers to hire visa-dependent, non-citizen workers for certain U.S. positions, as it can
13   pay these employees less than American, non-visa workers performing the same work. The
14   Department of Justice has sued Facebook for this very practice and entered into a settlement
15   agreement with Facebook in October 2021 to resolve the claims. 2 As of mid-October 2024, the terms
16   of the settlement agreement are no longer in effect (the term of the Agreement was 3 years). As such,
17   Facebook is no longer required to comply with the settlement agreement’s terms requirements for
18   PERM-related positions, which included the requirement that all such job postings be advertised on
19   Facebook’s career website in the same manner and format as other roles, that Facebook accept
20   electronic applications for all PERM-related positions via its career website, and that all applicants
21   to PERM-related job positions be entered into Facebook’s recruiting system, allowing those
22   candidates to be identified, considered, and hired by Facebook’s recruiting team for other matching
23   roles and opportunities.
24          3.        Meta’s employment practices violate the Civil Rights Act of 1866, as amended, 42
25   U.S.C. § 1981 (“§ 1981”). Plaintiffs seek, on their own behalf, and on behalf of a class of similarly
26   situated individuals, declaratory, injunctive, and other equitable relief, compensatory and punitive
27
            2
                See Settlement Agreement at 2, available at https://bit.ly/3nxZifd.
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                                        THIRD AMENDED COMPLAINT
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 1   damages, including pre- and post-judgment interest, attorneys’ fees, and costs to redress Meta’s
 2   pervasive pattern and practice of citizenship discrimination.
 3                                                 PARTIES
 4          4.      Plaintiff Purushothaman Rajaram is a naturalized United States citizen, and is a
 5   resident of Pennsylvania.
 6          5.      Plaintiff Ekta Bhatia is a naturalized United States citizen, and is a resident of
 7   California.
 8          6.      Plaintiff Qun “James” Wang is United States citizen, and is a resident of Georgia.
 9          7.      Plaintiff Michael Browne is a dual citizen of both the United States and the United
10   Kingdom, and is a resident of Washington State.
11          8.      Plaintiff William Austin Webb is as United States citizen, and is a resident of New
12   Hampshire.
13          9.      Plaintiffs are members of a protected class, as recognized by § 1981.
14          10.     Defendant Meta Platforms, Inc. is an American social networking and technology
15   company. It develops products which allow users to share information, photographs, messages, and
16   videos with other users. Facebook, Inc. was created in 2004, and changed its corporate name to Meta
17   Platforms, Inc. in 2021. It is incorporated in Delaware and maintains its corporate headquarters in
18   Menlo Park, California.
19                                              JURISDICTION
20          11.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 42 U.S.C.
21   § 1981(a).
22          12.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a), as the
23   amount in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
24   between citizens of different states.
25          13.     This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d) as this
26   matter is a class action with an amount in controversy of greater than $5 million, exclusive of interest
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                                       THIRD AMENDED COMPLAINT
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 1   and costs, and involves at least one class member who is a citizen of a state and is brought against a
 2   corporation that is a citizen of a different state.
 3           14.     This Court has personal jurisdiction over Meta because it engages in continuous and
 4   systematic business contacts within the State of California and maintains a substantial physical
 5   presence in this State, including the operation of its corporate headquarters and more than ten offices.
 6   Additionally, as described below, Plaintiffs’ claims arise, in part, out of Meta’s activities in
 7   California.
 8                             VENUE AND INTRADISTRICT ASSIGNMENT
 9           15.     Venue is proper in the Northern District of California pursuant to 28 U.S.C. § 1391(b)-
10   (c) because Meta resides in this District, conducts business in this District, and engaged in
11   discriminatory conduct in this District. Additionally, Meta engages in continuous and systematic
12   business contacts within this District, and maintains a substantial physical presence in this District,
13   including the operation of its headquarters in Menlo Park, California (where almost one-third of its
14   global employees work) and offices in Burlingame, Foster City, Fremont, Mountain View, San
15   Francisco, Santa Clara, Sausalito, and Sunnyvale. Further, a substantial part of the events giving rise
16   this action occurred in this District. For example, Mr. Rajaram was contacted by a Facebook recruiter
17   who was located in Menlo Park, California, and Mr. Rajaram subsequently discussed and applied to
18   an open position with Facebook through that recruiter. Mr. Rajaram has also applied to other PLM
19   roles with Facebook located in Menlo Park, California, but was not hired. In addition, both Ms. Bhatia
20   and Mr. Wang applied for positions with Meta where, if hired, they would have worked from Meta’s
21   Menlo Park or Sunnyvale offices in California. Further, the Data Scientist Manager role Mr. Browne
22   applied to with Meta was to be based in Menlo Park, California. And when Mr. Webb worked for
23   Meta as a contractual worker, while he worked remotely from New Hampshire, much of his team
24   was based in Fremont, California. As such, assignment in this Division is proper pursuant to Civil
25   L.R. 3-2(c) because a substantial part of the events giving rise to this matter’s claims occurred in this
26   Division.
27

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                                        THIRD AMENDED COMPLAINT
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 1                                         STATEMENT OF FACTS
 2                     Overview of Meta’s Business Model and Discriminatory Scheme
 3          16.     Meta has approximately 42 offices in the United States and employs over 56,000
 4   employees domestically. The company earned over $134 billion in revenue in the past fiscal year,
 5   with a net income of $39.1 billion. Meta derives approximately 45% of its revenue from the United
 6   States and Canada. Meta has grown and expanded its U.S. operations over the years through hiring.
 7          17.     Hiring employees increases costs, as it adds individuals to payroll, and there are
 8   additional costs associated with recruiting, hiring, and onboarding new employees. In order to reduce
 9   costs, Meta prefers to hire non-citizen visa workers for certain positions—namely, H-1B visa
10   workers. See Compl. ¶¶ 2-4, United States of America v. Facebook, Inc., OCAHO Case No.
11   2021B00007 (Dec. 3, 2020), available at https://bit.ly/3rMJzbF.
12          18.     H-1B visas are intended to bring foreign workers to the United States to perform
13   services in specialty occupations when there are insufficient workers in the U.S. to perform a specific
14   job. See 8 C.F.R. § 214.2(h)(1)(ii)(B); 8 C.F.R. § 214(i)(1). By law, H-1B visa workers must be paid
15   by their employer at least as much as other individuals with similar experience and qualifications for
16   the specific employment in question. See 20 C.F.R. § 655.731(a). Thus, the only reason Meta would
17   choose to hire and relegate certain positions to visa holders is to pay them less than American
18   counterparts, an unlawful practice that is known in the industry as “wage theft.” If Meta in fact paid
19   its visa workers the same as it paid American workers, it would have every incentive to hire, for all
20   positions, the most qualified individual (regardless of his or her visa status or citizenship).
21          19.     Meta hires visa workers in two ways. First, Meta hires visa workers directly from the
22   labor market, utilizing its own recruiters and job postings to attract candidates. Meta must sponsor
23   visas for these employees to allow them to legally work in the U.S., and Meta therefore retains
24   considerable control over these employees. Over the past ten years, Facebook has secured over 20,000
25   H-1B visas (including fresh visas, visa extensions, and visa amendments) for its U.S. workforce.
26   Facebook, and now Meta, is an H-1B visa dependent employer, meaning that 15% or more of Meta’s
27   U.S. workforce is on an H-1B visa (compared to 0.37% of the overall U.S. workforce and 0.95% of
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 1   the overall U.S. workforce with at least a bachelor’s degree). 3 Of employers who utilize H-1B visas,
 2   less than one in four is categorized as visa dependent. 4 And as Meta’s U.S. workforce continues to
 3   grow, so does its reliance on H-1B visa workers, as indicated by the increased number of H-1B visa
 4   approvals below.
 5    Year        2013       2014     2015     2016     2017       2018     2019      2020     2022
      H-1B Visa 412          527      894      1,107    1,566      2,467    3,552     4,408    5,100
 6    Approvals 5
 7   The vast majority of these visas are secured for employees who will perform software engineer roles
 8   in the United States. See id. A large numbers of H-1B visas are also secured for Meta’s Research
 9
     Scientists, Data Scientists, Data Engineers, and Engineering Managers. See id.
10
            20.     Second, Meta contracts with third party vendors such as Infosys, Accenture, and
11
     Crystal Equation Corporation that provide it with visa workers who work out of one of Meta’s 42
12

13   U.S. offices. While the consulting or contracting companies sponsor visas for these employees, Meta

14   interviews them, maintains control over their hiring and termination from Meta projects, and

15   supervises and directs their day-to-day activities and assignments.
16

17          3
               As of September 2019, there were approximately 583,420 H-1B visa holders in the United
     States. See Priyanka Sangani, US has just over 580,000 H-1B holders, says USCIS, THE ECONOMIC
18
     TIMES (June 29, 2020), https://bit.ly/3txmo75. The total U.S. workforce in 2019 was approximately
19   157.54 million. See Employment in the United States from 2013 to 2023, STATISTA (last accessed
     Feb. 25, 2025), available at https://www.statista.com/statistics/269959/employment-in-the-united-
20   states/. Approximately 38.9% of the U.S. workforce held at least a bachelor’s degree in 2016, though
     that percentage has presumably increased. See Vernon Brunage, Jr., Profile Of The Labor Force By
21   Educational Attainment at 2, BUREAU OF LABOR STATISTICS (August 2017), https://bit.ly/4hTJOfz
     (reporting that in 2016, 24.2% of the labor force had only a bachelor’s degree, and 14.7% had an
22
     advanced degree, or 38.9% with a bachelor’s degree or higher). Thus, approximately 0.37% of the
23   workforce in 2019 consisted of H-1B visa holders (i.e., 583,420 ÷ 157.54 million), and approximately
     0.95% of the workforce in 2019 with at least a bachelor’s degree consisted of H-1B visa holders
24   (583,420 ÷ (157.54 million x 38.9%)).
            4
25            See Performance Data, LCA_Disclosure_Data_FY2024_Q1.xlsx, DEPARTMENT OF LABOR
     (last accessed Feb. 25, 2025), available at https://www.dol.gov/agencies/eta/foreign-
26   labor/performance.

27          5
             See H-1B Employer Data Hub Files, U.S. CITIZENSHIP AND IMMIGRATION SERVICES (last
     accessed Aug. 8, 2024), available at http://bit.ly/2OpEyr2.
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             21.     Meta’s preference for hiring and employing visa workers over U.S. citizens is no
 1

 2   secret. In fact, in December 2018, the Immigrant and Employee Rights Section (“IER”) within the

 3   Civil Rights Division of the U.S. Department of Justice launched an investigation into Facebook’s
 4   recruitment and hiring practices, focusing specifically on whether Facebook engaged in unfair
 5
     recruitment and hiring practices based on citizenship or immigration status in violation of 8 U.S.C. §
 6
     1324b(a)(1). See Compl. ¶ 9, United States of America v. Facebook, Inc., OCAHO Case No.
 7
     2021B00007 (Dec. 3, 2020), available at https://bit.ly/3rMJzbF. Following an almost two-year
 8

 9   investigation, on October 9, 2020, the IER notified Facebook that it had “found reasonable cause to

10   believe that Facebook had engaged in a pattern or practice of unfair immigration-related employment

11   practices violating 8 U.S.C. § 1324b(a)(1),” which prohibits discrimination based on an individual’s
12   citizenship status. Id. ¶ 10.
13
             22.     The Department of Justice subsequently filed a complaint against Facebook on
14
     December 3, 2020, alleging that Facebook intentionally discriminates against U.S. workers because
15
     of their citizenship or immigration status by failing to recruit, consider, or hire these workers for
16

17   permanent positions that it earmarks for the company’s visa holders. Id. ¶¶ 2-3. The complaint alleges

18   that from at least January 1, 2018 to at least September 18, 2019, “Facebook’s standard operating

19   procedure was to decline to hire . . . U.S. worker[s] for [2,606] PERM-related position[s],” despite
20
     the applicants’ qualifications, and to instead fill these vacancies only with PERM beneficiaries
21
     (Facebook employees who were temporary visa holders seeking permanent positions within
22
     Facebook and lawful permanent residency in the U.S.). Id. ¶¶ 42, 48-49. Facebook took active steps
23
     to discourage U.S. workers from applying to the positions reserved for its visa holders, including by
24

25   failing to advertise the open positions on its website, refusing to accept online applications for the

26   roles, and requiring all interested candidates to mail in copies of their applications. Id. ¶ 2. Through
27   this practice, Facebook was able to ensure that its temporary visa holders secured permanent positions
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     through the permanent labor certification process, allowing them to remain in the U.S. beyond the 6-
 1

 2   year period afforded by their H-1B visas. Id. ¶¶ 2, 17.

 3             23.       In October 2021, Facebook and the Department of Justice entered into a settlement
 4   agreement under which Facebook is required to pay $4,750,000 to the United States Treasury in civil
 5
     penalties and $9,500,000 to a Settlement Fund for potential victims of Facebook’s discrimination.
 6
     See Settlement Agreement at 2, available at https://bit.ly/3nxZifd. In addition to agreeing not to
 7
     discriminate in hiring and recruitment on the basis of citizenship or immigration status, Facebook
 8

 9   also agreed to make changes to its recruitment process in connection with its PERM applications,

10   including posting all PERM-related positions on Facebook’s Career website in the same manner as

11   other non-PERM roles, accepting electronic applications for PERM-related positions, entering all
12   applicants to PERM-related positions into Facebook’s recruiting system, and only rejecting a U.S.
13
     worker for the position for lawful, job-related reasons. See id. at 2-3.
14

15             24.       Facebook’s 2013 to 2023 PERM applications figures are as follows, showing again its

16   increased reliance on visa workers.

17   Year           2013         2014 2015 2016 2017 2018             2019 2020 2021 2022            2023
     PERM           95           256 419 732 692 1,443                1,481 1,547 320 909            2,046 7
                  6
18   Applications

19             25.       Like Facebook/Meta’s H-1B visa applications, its PERM applications are mostly filed
20   for Software Engineers, with a high number of applications also filed for Research Scientists, Data
21   Scientists, Data Engineers, and Engineering Managers. 8
22

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               6
25             See Performance Data, U.S. DEPARTMENT OF LABOR (last accessed Aug. 8, 2024), available
     at https://bit.ly/3HP5KpF.
26             7
                   In 2023, Meta Platforms, Inc. filed 371 perm applications, which is not reflected in this
27   figure.
               8
                   See id.
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 1                                      Plaintiff Rajaram’s Experiences
 2          26.       Mr. Rajaram is an experienced and highly skilled information technology professional
 3   with almost twenty years of experience in solution architecting and delivering enterprise Product
 4   Lifecycle Management (“PLM”) software solutions to Fortune 500 companies. Mr. Rajaram holds a
 5   Bachelor of Engineering degree from Madras University in Chennai and a Diploma in Mechanical
 6   Engineering from the Directorate of Technical Education in Chennai. Throughout the course of his
 7   career, he has developed an array of technical skills, including in PLM administration,
 8   implementation, integration, and support, project and vendor management, solution architecture,
 9   requirements gathering, business process mapping, and data migration. From June 2014 forward, Mr.
10   Rajaram has worked as an independent PLM Technical Consultant servicing aerospace, energy, and
11   technology customers (among others).
12          27.       Mr. Rajaram was considered for employment with Facebook on more than four
13   occasions, but Facebook failed to hire him each time because of the company’s systematic and
14   continuous discriminatory scheme.
15          28.       First. In May 2020, Mr. Rajaram was contacted via WhatsApp by Prashanth
16   Sadasivaiah, an employee of Infosys Limited, regarding a PLM architect position with Facebook.
17   Infosys Limited is a third party vendor with whom Facebook contracts to hire employees to perform
18   IT work. Mr. Rajaram expressed interest in the position and submitted a copy of his resume, which
19   listed his citizenship status as a naturalized U.S. citizen (the same is also mentioned on his LinkedIn
20   profile page).
21          29.       Mr. Rajaram was then interviewed by three Infosys employees, Sadasivaiah J.
22   Moorthy, and Aravind Tungaturi. The video interview took place via Skype on May 31, 2020. Mr.
23   Rajaram performed well during the interview and received positive feedback from his interviewers.
24   He was told he was the “right guy” and “perfect” for the role.
25          30.       On June 1, 2020 Mr. Rajaram received a telephone call from Pradeep Kulkarni, the
26   Infosys client partner for Facebook, asking whether Mr. Rajaram would be available in approximately
27   thirty minutes to interview with Facebook employee Rajesh Pralayakaveri regarding the PLM
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 1   architect role so that Facebook could make a hiring decision. Later that evening, Mr. Rajaram
 2   underwent a telephone interview with Mr. Pralayakaveri, whom Mr. Rajaram understands to be
 3   working for Facebook in the U.S. on an H-1B visa. Mr. Pralayakaveri was a junior employee, which
 4   was evident by his questioning of Mr. Rajaram. Despite performing well in his interviews and being
 5   well-qualified for the role, Mr. Rajaram was not hired by Facebook.
 6          31.     Second. On June 19, 2020, Bobb Omel, a PLM Analyst at Facebook, referred Mr.
 7   Rajaram for a full-time position with the company. Prior to this referral, Mr. Rajaram shared a copy
 8   of his resume with Mr. Omel, which notes that he is a naturalized U.S. citizen. Mr. Rajaram was
 9   subsequently contacted by Khaled Mansour, a Technical Sourcer for Facebook on June 23 who
10   worked out of Facebook’s Menlo Park, California location. Mr. Rajaram discussed the PLM Analyst
11   position with Mr. Mansour on June 29 for approximately 45 minutes to 1 hour. During that time, Mr.
12   Rajaram detailed his experience in the PLM field. Mr. Mansour stated that Facebook was very
13   interested in Mr. Rajaram’s candidacy and that Mr. Mansour would present him to the team that was
14   hiring for the role. However, on July 6, Mr. Mansour informed Mr. Rajaram that “the team decided
15   not to move forward with the next steps” and Facebook did not hire him for the PLM Analyst role.
16   No further explanation was provided for Facebook’s rejection of Mr. Rajaram’s candidacy. On
17   information and belief, Facebook staffed the role with an H-1B visa holder.
18          32.     Third and Fourth. On March 10, 2022 and March 22, 2022, Mr. Rajaram applied to
19   Application Manager, PLM positions with Facebook on its career website. Mr. Rajaram understood
20   these to be remote roles. As part of his applications, he submitted online a copy of his resume which
21   states that he is a naturalized U.S. citizen. Despite being well-qualified for the roles, Mr. Rajaram
22   received no response from Facebook, and was not interviewed or hired for the Application Manager,
23   PLM roles.
24          33.     Mr. Rajaram also applied to PLM Manager, PLM Project Manager, and PLM
25   Architect roles with Facebook over the past few years. These positions were located in Menlo Park,
26   California and Austin, Texas. However, Mr. Rajaram never received a response from Facebook to
27   his online applications, and he was not hired for these roles.
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 1          34.     In each instance, Facebook did not hire Mr. Rajaram because of his citizenship, and
 2   Mr. Rajaram would have been hired absent Facebook’s systematic preference for visa holders in
 3   hiring for certain U.S. positions. Mr. Rajaram was a victim of Facebook’s (and now Meta’s) ongoing
 4   discriminatory scheme whereby he was not hired for permanent positions within the company that
 5   Facebook had earmarked for its visa holders (the very same conduct at issue in the DOJ’s multi-year
 6   investigation of Facebook, resulting in a complaint being filed against Facebook (a lawsuit that
 7   ultimately settled)). Mr. Rajaram was also foreclosed from applying to other positions with Meta that
 8   matched his skillset which Meta did not advertise on its career website—the location where Mr.
 9   Rajaram typically looks for open roles with Meta, and instead advertised only in more obscure
10   locations, such as in newspapers.
11                                           Plaintiff Bhatia’s Experiences
12          35.     Ms. Bhatia is a Senior Software Engineer with over four years of professional
13   experience in the IT industry. She holds a Bachelor of Science degree in Computer Science from San
14   Francisco State University and completed a Web Development Bootcamp through Udemy focusing
15   on frontend and backend development. Ms. Bhatia has a wide array of skills, which include the ability
16   to program in a number of languages (including, for example, JavaScript, TypeScript, Java, C++,
17   React, SQL, and HTML), and experience in multiple software development frameworks and libraries.
18   Over the past four years, Ms. Bhatia has held a number of software engineering roles, working most
19   recently as a Senior Software Engineer for Goldman Sachs where she developed websites and
20   applications, analyzed and improved site speed, and tested and delivered codes.
21          36.     Between 2022 and 2024, Ms. Bhatia applied to at least seven roles with Meta. Ms.
22   Bhatia was well-qualified for each of the roles, but Meta failed to hire her because of the company’s
23   systematic and continuous discriminatory scheme.
24          37.     First. On March 24, 2022, Ms. Bhatia received and email from Heather Teagle,
25   Technical Sourcer for Meta, stating that Ms. Teagle was impressed with Ms. Bhatia’s academic
26   success at San Francisco State University and asking whether she was interested in exploring a career
27

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 1   with Meta. Ms. Teagle’s email noted that she was currently hiring for Software Engineer – Product
 2   and Software Engineer – Infrastructure roles.
 3          38.     Ms. Bhatia then submitted an application online for the Software Engineer – Product
 4   role. As part of the online application, Ms. Bhatia indicated that she did not require sponsorship to
 5   work in the United States. Ms. Bhatia also submitted a copy of her resume with the application, which
 6   noted at the top of the document that she is a U.S. citizen.
 7          39.     On April 14, 2022, Ms. Bhatia had a telephone call with Ms. Teagle, and expressed
 8   her interest in being considered for a Software Engineer – Product role. Following that call, Ms.
 9   Teagle sent Ms. Bhatia a number of emails, including a request that she complete a “U.S. Work
10   Authorization form.” Ms. Bhatia completed that information on Meta’s website, confirming that she
11   did not require sponsorship to work in the United States. Ms. Bhatia also received an email asking
12   for her to provide her availability for an interview in May, which Ms. Bhatia provided.
13          40.     Ms. Bhatia was then scheduled for a “1 hour Bluejeans Screening Interview” with
14   Meta on May 9, 2022. The interview was to proceed via video conference, and Ms. Bhatia received
15   confirmation of the interview on April 14, 2022. However, one week later, on April 21, 2022, Ms.
16   Bhatia received an email from Ms. Teagle, informing her that her technical interview was being
17   canceled as Meta had “filled all existing positions that match [Ms. Bhatia’s] experience and
18   qualifications for th[e] role.” Ms. Teagle’s email noted that there were “three open teams hiring for
19   engineers like [Ms. Bhatia,]”—Enterprise Engineering, Business Engineering, and Production
20   Engineering, yet Ms. Teagle did not refer Ms. Bhatia to any of those three teams, and Ms. Bhatia was
21   not hired by Meta for the Software Engineer – Product role.
22          41.     Second. On June 24, 2023, Ms. Bhatia applied to a Software Engineer, Product –
23   Generative AI role with Meta. As part of that job application, Ms. Bhatia submitted a copy of her
24   resume to Meta which noted at the top of the document that she is a U.S. citizen.
25          42.     Three months later, on September 20, 2023, Ms. Bhatia received an email from
26   Ledonia Davis, a Technical Sourcing Recruiter for Meta. In her email, Ms. Davis asked Ms. Bhatia
27   to schedule call with the recruiting team at Meta if she was amenable to potentially relocating to
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 1   Seattle, the Bay Area (California), or New York for the role, as the location strategy for hiring had
 2   adjusted for the position Ms. Bhatia applied to in June. Ms. Bhatia was open to relocation, particularly
 3   to the Bay Area, and scheduled a call with Ms. Davis on September 27, 2023. After that call, Ms.
 4   Bhatia was advanced to the next round in the interview process and was scheduled for a 45 minute
 5   “Bluejeans Screening Interview” in mid-October 2023.
 6          43.     Prior to that interview, Ms. Bhatia received an email from Meta asking her to complete
 7   a “required U.S. Work Authorization form.” Ms. Bhatia completed the form, confirming that she did
 8   not require sponsorship from Meta to work in the United States.
 9          44.     Ms. Bhatia performed well during her October 2023 technical interview, and
10   anticipated being advanced to the next round of interviews, given that she had written the code
11   requested by her interviewer correctly. A week after her interview, Ms. Bhatia emailed Ms. Davis,
12   thanking her for the opportunity to interview with the company asking for Meta’s feedback. The
13   following day, on October 26, 2023, Ms. Davis emailed Mr. Bhatia, informing her that the “team
14   ha[d] decided not to move forward to next steps for the Software Engineer role.” Ms. Davis stated
15   that while Meta’s “general guideline is not to share specific feedback,” “because this was a
16   tech/analysis [interview], it was likely that [Meta] did not receive strong enough signals in the areas
17   [it] hoped for.”
18          45.     Third. On October 13, 2023, Ms. Bhatia applied for a Software Engineer, Front End
19   role with Meta online. Ms. Bhatia again provided Meta with a copy of her resume, listing her status
20   as a U.S. citizen. Apart from an email from Meta confirming her application, Ms. Bhatia received no
21   communication from Meta regarding this role, and was not interviewed, nor hired for it.
22          46.     Fourth, Fifth, and Sixth. On January 5, 2024, Ms. Bhatia applied to two roles with
23   Meta—a Front End Data Science Developer role and a Software Engineer, Front End role. On January
24   8, 2024, Ms. Bhatia applied to a Business Engineer role with Meta. With each application, Ms. Bhatia
25   again submitted a copy of her resume, listing her status as a U.S. citizen. However, Ms. Bhatia was
26   not interviewed, nor hired, for any of these three roles.
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 1          47.     Seventh. On January 11, 2024, Ms. Bhatia applied to a Software Engineer, Product
 2   role with Meta online. With her application, she again submitted a copy of her resume, which listed
 3   her status as a U.S. citizen. If hired for the role, Ms. Bhatia would have worked from either Meta’s
 4   Menlo Park or Sunnyvale, California location.
 5          48.     That same day, Ms. Bhatia was contacted by Gretchen Smith, a Recruitment Screening
 6   Specialist for Meta who works remotely for the company from California. Ms. Bhatia understands
 7   that Ms. Smith called her because she had recently received a recommendation from a Meta employee
 8   who was familiar with her skill set and experience. During their call, Ms. Bhatia confirmed her
 9   interest in a role with Meta.
10          49.     Ms. Bhatia then received two emails from Meta: (1) an email requesting that she
11   complete the “required U.S. work authorization form,” and (2) an email asking her to submit her
12   availability for an interview for the Software Engineer, Product role. Ms. Bhatia completed the U.S.
13   work authorization form online, confirming that she did not require authorization to work in the
14   United States, and was scheduled for a technical interview with Meta on January 12, 2024 to take
15   place via videoconference.
16          50.     Ms. Bhatia performed well in her technical interview, and was informed on January
17   24, 2024 by Ms. Smith that she was moving to the next round of interviews with Meta referred to as
18   a “Bluejeans Full Interview Loop” (four 45-minute interviews with Meta, meeting with a number of
19   engineers from different teams). These interviews were to include coding, design, and behavioral
20   assessments.
21          51.     Ms. Smith then connected Ms. Bhatia with Reece Lourdes, SWE Recruiting for Meta,
22   who would serve as her main point of contact through the remainder of the interview process. Ms.
23   Bhatia then had a call with Mr. Lourdes on January 31, 2024 in advance of her next round of
24   interviews, which were ultimately scheduled for early March.
25          52.     In March 2024, Ms. Bhatia completed the full-loop of interviews with Meta via
26   videoconference. Ms. Bhatia performed well during her coding, system design, and behavioral
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 1   interviews, solving the coding problems correctly and receiving positive feedback from her system
 2   design interviewer.
 3          53.     On March 13, 2024, Mr. Lourdes emailed Ms. Bhatia, asking how the full-loop of
 4   interviews went, and noting that he should have collective feedback from her interviews shortly and
 5   would share an update. Ms. Bhatia informed Mr. Lourdes that the interviews went well and that she
 6   enjoyed meeting everyone and learning more about their experience working for Meta.
 7          54.     The following day, Mr. Lourdes emailed Ms. Bhatia, informing her that “[t]he
 8   collective feedback was in most areas positive, in particular the design interview – good work!” He
 9   stated that he would next take Ms. Bhatia’s candidate packet to a review session—attended by Mr.
10   Lourdes and other hiring peers—and that he would recommend Ms. Bhatia’s candidacy proceed to
11   the next steps with Meta. Mr. Lourdes stated that the review session team would “look at the feedback
12   [from Ms. Bhatia’s interviews] in its entirety and make[] a data driven decision.”
13          55.     Ms. Bhatia’s candidate packet was scheduled to be reviewed by Meta on Tuesday
14   afternoon, March 19, 2024.
15          56.     On March 19, 2024, at 2:36 p.m., Ms. Bhatia received an email from Mr. Lourdes,
16   informing Ms. Bhatia that the hiring managers decided not to move forward with her application, and
17   that she had been rejected by Meta. In his email, Mr. Lourdes noted that Ms. Bhatia “performed well
18   on parts of the interview; however, feedback was not quite strong enough to make it through to the
19   next steps.” Ms. Bhatia was told that she could apply again in a year, following “the 12-month
20   interview cool off period.”
21
            57.     Like Mr. Rajaram, Meta did not hire Ms. Bhatia because of her citizenship, and Ms.
22
     Bhatia would have been hired absent Meta’s systematic preference for visa holders in hiring for
23
     certain U.S. positions. Ms. Bhatia is now precluded from applying to Meta until 2025, per its “12-
24
     month interview cool off period.” Ms. Bhatia was also a victim of Meta’s ongoing discriminatory
25

26   scheme whereby she was not hired for permanent positions within the company that Meta had

27   earmarked for its visa holders (the very same conduct at issue in the DOJ’s multi-year investigation
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     of Facebook, resulting in a complaint being filed against Facebook (a lawsuit that ultimately settled)).
 1

 2   And Ms. Bhatia was foreclosed from applying to other positions with Meta that matched her skillset

 3   which Meta did not advertise on its career website—the location where Ms. Bhatia typically looks
 4   for open roles with Meta, and instead advertised only in more obscure locations, such as in
 5
     newspapers.
 6
                                          Plaintiff Wang’s Experiences
 7
            58.     Mr. Wang is an experienced Data Scientist with over fifteen years of experience as a
 8

 9   data scientist, manager, and consultant. He holds a Bachelor’s degree in Applied Math, a Master’s

10   degree in Engineering, and a Ph.D. in Statistics. Mr. Wang specializes in Python/SQL/R/SAS

11   programming and has management/project lead experience in the Healthcare Insurance, P&C
12   Insurance, Financial/Marketing, Risk Management, and Consumer Packaged Goods industries. He
13
     has repeatedly served in leadership roles overseeing and performing projects that address stakeholder
14
     questions and concerns. Mr. Wang currently works as a Senior Business Information Consultant
15
     (Data Scientist) in the healthcare industry.
16

17          59.     From 2023 forward, Mr. Wang has applied to at least nine roles with Meta on the

18   company’s website and on the State of California website, known as CalJOBS. However, despite Mr.

19   Wang’s strong qualifications for the Data Scientist roles, he was not interviewed nor hired by Meta
20
     because of the company’s systematic and continuous discriminatory scheme.
21
            60.     First. On January 24, 2024, Mr. Wang applied to a Data Scientist (Instagram) role on
22
     Meta’s career website for a position located in Menlo Park, California. The role required 36 months
23
     of experience as a data scientist based on the applicant’s educational background that Mr. Wang had.
24

25   In connection with his application, Mr. Wang submitted to Meta a copy of his resume, which lists his

26   status as a U.S. citizen. Other than receiving an email from Meta acknowledging its receipt of Mr.
27

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     Wang’s application, Mr. Wang received no further contact from Meta and was not interviewed, nor
 1

 2   hired for the role.

 3           61.     Second. On May 6, 2024, Mr. Wang applied to a Data Scientist, GBG Data Science
 4   role on Meta’s career website. If hired, Mr. Wang would have worked out of Meta’s Menlo Park, CA,
 5
     Austin, TX, or New York, NY offices. With this application, Mr. Wang again submitted a copy of
 6
     his resume listing his citizenship status. Mr. Wang was well-qualified or the role, given his extensive
 7
     background as a data scientist. Mr. Wang also met the “Preferred Qualifications” for the role, which
 8

 9   included an advanced degree in an analytical field such as engineering, mathematics, or statistics (Mr.

10   Wang holds a Master’s degree in Engineering and a Ph.D. in Statistics). Like with his January 24,

11   2024 application, other than receiving an email from Meta acknowledging its receipt of Mr. Wang’s
12   application, Mr. Wang received no further contact from Meta and was not interviewed, nor hired for
13
     the role.
14
             62.     Third. On May 6, 2024, Mr. Wang applied to a Data Scientist, Products Analytics role
15
     on Meta’s career website, submitting with his application a copy of his resume, listing his status as a
16

17   U.S. citizen. Had Mr. Wang been hired for the role, he would have chosen to work out of Meta’s

18   Menlo Park or Sunnyvale, California offices. Mr. Wang met both the “Minimum Qualifications” for

19   the role—which required a Bachelor’s degree in Mathematics, Statistics, or a relevant technical
20
     field—and the “Preferred Qualifications” for the role—which required a Master’s degree or Ph.D. in
21
     a quantitative field. However, Mr. Wang was rejected by Meta for the role without any interview.
22
             63.     Fourth through Ninth. Between June 18, 2024 and June 22, 2024, Mr. Wang applied
23
     to six Data Scientist job roles with Meta on the State of California’s career website, CalJOBS, which
24

25   were located in Menlo Park or Sunnyvale, California. With each application, Mr. Wang submitted a

26   copy of his resume, which lists his status as a U.S. citizen. Mr. Wang was well-qualified for each of
27   the roles, which required a Master’s degree in Computer Science, Engineering, Mathematics,
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     Statistics, or a related field (Mr. Wang holds a Master’s degree in Engineering and a Ph.D. in Statistics
 1

 2   with 15+ years of relevant experience). Despite his qualifications, Mr. Wang received no follow-up

 3   communication from Meta regarding his applications, and was not interviewed, nor hired, for the
 4   Data Scientist roles. 9
 5
             64.     At the same time Mr. Wang was applying to Data Scientist jobs with Meta, the
 6
     company was actively seeking PERM certifications and Labor Condition Application certifications
 7
     for Data Scientist roles, which would allow the company to fill those roles (or continue staffing those
 8

 9   roles) with non-citizen visa workers. As such, while there were qualified U.S. citizens available to

10   fill roles in the U.S. for which Meta had job openings, rather than hiring Mr. Wang—a highly

11   qualified Data Scientist—Meta instead took active steps to fill the roles in question with non-citizen
12   visa workers.
13
             65.     Like Mr. Rajaram and Ms. Bhatia, Meta did not hire Mr. Wang because of his
14
     citizenship, and Mr. Wang would have been hired absent Meta’s systematic preference for visa
15
     holders in hiring for certain U.S. positions. Mr. Wang was a victim of Meta’s ongoing discriminatory
16

17   scheme whereby he was not hired for permanent positions within the company that Meta had

18   earmarked for its visa holders (the very same conduct at issue in the DOJ’s multi-year investigation

19   of Facebook, resulting in a complaint being filed against Facebook (a lawsuit that ultimately settled)).
20
     He was also foreclosed from applying to other positions with Meta that matched his skillset that Meta
21
     did not advertise on its career website or CalJOBS—the locations where Mr. Wang typically looks
22
     for open roles with Meta, and instead advertised only in more obscure locations, such as in
23
     newspapers.
24

25

26
             9
              Mr. Wang does not maintain records of his other applications to Meta during the relevant
27
     time period, but estimates that he applied to a number of additional roles with Meta for which the
28   company will have records.
                                                      18
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                                        Plaintiff Browne’s Experiences
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 2          66.     Mr. Browne is a Senior Data Scientist with over twenty years of professional

 3   experience. He holds a Bachelor of Science from the University of Warwick (in the United Kingdom),
 4   a Master of Science in Applied Statistics from Birkbeck, University of London, and a Master of
 5
     Science in Data Science from the University of Washington. Mr. Browne has spent the last sixteen
 6
     years working in the technology industry, and has spent the past thirteen years at Amazon where he
 7
     has held a variety of engineering and science roles. Mr. Browne currently works as a Senior Data
 8

 9   Scientist for Amazon where he is responsible for end-to-end implementation of machine learning

10   models that identify and resolve Amazon Retail customer defects (among other job responsibilities).

11          67.     In November and December 2024, Mr. Browne was contacted by Thanh Nguyen, a
12   Data Scientist/Engineering recruiter for Meta, on four occasions asking if he was interested in joining
13
     the company. On November 4, 2024, Mr. Nguyen reached out to Mr. Browne stating: “Your strong
14
     background caught my eye and I think you would make a valuable addition to the Data Scientist
15
     teams here at Meta.” Just five days later, Mr. Nguyen emailed Mr. Browne again, following-up on
16

17   his prior email, and sharing the same compliment. On November 24, 2024, Mr. Nguyen contacted

18   Mr. Browne, stating: “I came across your profile and I was impressed with your career progression

19   thus far and wanted to connect to see if you’d be interested in learning more about the opportunities
20
     we have here at Facebook.” Then, on December 19, 2024, Mr. Nguyen emailed Mr. Browne,
21
     following-up on his November 24 email, and stating that he was “[h]appy to keep in touch and also
22
     be [Mr. Browne’s] point of contact for future opportunities if now is not a good time.”
23
            68.     On January 26, 2025, Mr. Browne saw an advertisement by Meta in the San Francisco
24

25   Chronicle for a Data Scientist Manager position with the company (reference code REQ-2412-

26   144943). Companies like Meta that file PERM Labor Certifications and need to advertise the position
27   in newspapers and professional journals often use the San Francisco Chronicle for this purpose. The
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     job posting stated that the position was to be based in Menlo Park, California, but that telecommuting
 1

 2   was permitted from anywhere in the U.S. The individual hired for the role would be responsible for

 3   helping build and lead a Data Science team at Meta, and the base salary range for the position was
 4   between $225,859 to $234,894 per year.
 5
                69.   Mr. Browne applied to the position on Meta’s career website that same day. As part
 6
     of his application, Mr. Browne submitted a copy of his resume that lists his dual citizenship (United
 7
     States and United Kingdom). The application itself also asked Mr. Browne whether he required
 8

 9   sponsorship now or in the future to work in the U.S. Mr. Browne answered “no,” as he is a U.S.

10   citizen.

11              70.   Mr. Browne was a good fit for the role, given that he has held a Senior Data Scientist
12   role at Amazon for the past five years, has previously held a manager role, and also has a Master of
13
     Science Degree in Data Science. In addition, Mr. Browne’s resume notes that he has built teams at
14
     Amazon (where he has worked the past thirteen years). Further, Meta itself reached out to Mr. Browne
15
     on multiple occasions stating that he would “make a valuable addition to the Data Scientist teams
16

17   here at Meta.”

18              71.   After submitting his job application, Mr. Browne received an email from Meta

19   acknowledging his submission. On February 15, Mr. Browne checked the status of his application on
20
     Meta’s career website. Meta’s website stated that Meta was not moving forward with Mr. Browne’s
21
     candidacy. Meta did not contact or interview Mr. Browne for the Data Scientist Manager role, and
22
     rejected him without proper consideration.
23
                72.   Upon information and belief, Meta did not hire Mr. Browne for this position as it was
24

25   reserved for a visa employee who Meta wished to work permanently in the U.S. Meta did not hire

26   Mr. Browne because of his citizenship, and Mr. Browne would have been hired absent Meta’s
27   systematic preference for visa holders in hiring for certain U.S. positions. Like the other Plaintiffs,
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     Mr. Browne was a victim of Meta’s ongoing discriminatory scheme whereby he was not hired for a
 1

 2   permanent position within the company that Meta had earmarked for its visa holders (the very same

 3   conduct at issue in the DOJ’s multi-year investigation of Facebook, resulting in a complaint being
 4   filed against Facebook (a lawsuit that ultimately settled)). And Mr. Browne was foreclosed from
 5
     applying to other positions with Meta that matched his skillset that Meta did not advertise on its career
 6
     website—the location where Mr. Browne typically looks for open roles with Meta, and instead
 7
     advertised only in more obscure locations, such as in newspapers.
 8

 9                                        Plaintiff Webb’s Experiences

10          73.      Mr. Webb is a Senior Data Engineer / Data Scientist who holds a Bachelor of Science

11   in Computer Science from the California Institute of Technology and a Master of Science in
12   Computer Science – Machine Learning from the University of Washington. Mr. Webb specializes in
13
     algorithms and machine learning and is also skilled in Python (a programming language) and SQL (a
14
     database query language). Mr. Webb’s academic training in algorithms, quantum computing, and
15
     machine learning has allowed him to quickly measure and gain insights from data. Prior to working
16

17   for Meta as a Senior Data Scientist (a contractual role through Crystal Equation Corporation), Mr.

18   Webb served as a Training Data Engineer for FalconX, where he was responsible for, inter alia, risk

19   and revenue analytics for crypto derivatives trading and volatility production for exchange quote
20
     optimization.
21
            74.      Facebook, and now Meta, first began recruiting Mr. Webb for work in 2018, reaching
22
     out to him repeatedly via email and LinkedIn to see whether Mr. Webb was interested in applying for
23
     a Machine Learning position with Facebook. Mr. Webb expressed interest in a role with Facebook at
24

25   this time, and had an initial telephone call with Minho Cho, a Machine Learning Recruiter for

26   Facebook, on July 23, 2018. While Mr. Webb was then advanced to the next round of the interview
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     process by Facebook and scheduled for a coding interview on August 9, 2018, he secured alternate
 1

 2   employment prior to that date, and did not ultimately interview further with Meta in 2018.

 3          75.     On December 13, 2021, Tiffany Tan, a recruiter for Meta, reached out to Mr. Webb
 4   via email, as the company was looking to hire in-office and remote engineers, and Ms. Tan
 5
     encouraged Mr. Webb to reach out to her if he was interested in joining Meta. Mr. Webb was in fact
 6
     interested, and had a telephone call with Ms. Tan on December 20, 2021 to discuss job openings at
 7
     Meta. Over the next three months, Mr. Webb received multiple emails from Meta, which included
 8

 9   coordinating interviews and asking Mr. Webb to complete a work authorization form. Per the

10   December 20, 2021 email Mr. Webb received, at Meta, “[t]he first step [in progressing through the

11   application process] is to sign up for a career profile and fill out a U.S. Work Authorization form.”
12   Mr. Webb completed the form, as required, confirming that he did not require sponsorship to work
13
     for Meta as he is a U.S. citizen. Mr. Webb performed well in his interviews and passed both the initial
14
     programming screen as well as two more advanced programming and coding screens. However,
15
     despite performing well in his interviews and having strong engineering skills, Meta did not hire Mr.
16

17   Webb for an engineering role and rejected his candidacy in March 2022.

18          76.     In August 2023, Mr. Webb began working for Meta as a Senior Data Scientist, a

19   contractual employee role staffed through one of Meta’s third-party vendors, Crystal Equation
20
     Corporation. Upon starting his employment, Mr. Webb provided Crystal Equation Corporation with
21
     a copy of his passport, in order to process his Form I-9, which indicated that he was a U.S. citizen.
22
            77.     Consistent with Meta’s corporate practice of directing, controlling, and supervising
23
     the work of the staff provided by third-party contractors such as Crystal Equation Corporation,
24

25   Infosys, and others (i.e., “contractual employees”), the work performed by Mr. Webb for Meta was

26   at the direction and control of Meta, and benefitted Meta. Mr. Webb’s day-to-day work was overseen
27   by Chen Zheng, a Meta employee, who served as Mr. Webb’s manager. Mr. Webb’s work was also
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     supervised by Aaron Arima and Anke Xu who worked for Meta. Meta closely supervised all work
 1

 2   performed by Mr. Webb and virtually every decision made by Mr. Webb or other contractual

 3   employees had to be approved by a Meta employee. Like other contractual employees, Mr. Webb
 4   was jointly employed by Meta and Crystal Equation Corporation.
 5
            78.     Mr. Webb was placed on a data engineering team at Meta, called Enterprise
 6
     Infrastructure, Security, and Analytics, that was staffed with both contractual workers, like Mr. Webb,
 7
     and other employees of Meta. Mr. Webb and his team worked remotely for Meta, with Mr. Webb
 8

 9   working from his home in New Hampshire and other team members working remotely in Fremont,

10   California and New York, New York. Webb’s team was managed by Chen Zheng, a Chinese national

11   and Meta employee.
12          79.     The Enterprise Infrastructure, Security, and Analytics team that Mr. Webb was a part
13
     of had started a few years before Mr. Webb began working for Meta and was comprised of a large
14
     number of contractual workers and a small number of other Meta employees. Non-contractual Meta
15
     employees on Mr. Webb’s team were predominantly Chinese and held H-1B visas or had recently
16

17   received their green cards. The contractual workers provided by Crystal Equation Corporation, on the

18   other hand, were a mix of U.S. citizens (both of American descent and Korean decent) and Chinese

19   and Indian H-1B visa workers.
20
            80.     Mr. Webb’s understanding is that Meta and Crystal Equation Corporation had
21
     previously maintained an “up-or-out” agreement where, contractual employees who worked for Meta
22
     for approximately two years (or, in some cases, more) were either retained as non-contractual Meta
23
     employees, or terminated. If retained as a non-contractual Meta employee, the worker received much
24

25   higher compensation and better benefits than contractual employees, and as such, a promotion—in

26   which one was hired by Meta as a non-contractual employee— was highly desirable.
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            81.     Mr. Webb performed well in his Senior Data Scientist role at Meta, was well received
 1

 2   by other Meta employees, and supported a number of successful projects during his first six months

 3   with the company. Mr. Webb was highly regarded for his data science capabilities and was also
 4   known outside of his team at Meta for these abilities. When Mr. Webb performed consultative work
 5
     for other teams at Meta outside of Enterprise Infrastructure, Security, and Analytics, his work was
 6
     highly praised by several senior Meta managers. This, in turn, led Mr. Webb to be contacted by other
 7
     internal Meta teams for help and to utilize his data science skills.
 8

 9          82.     However, despite Mr. Webb’s strong performance, he was not retained by Meta and

10   was terminated. Instead, in accordance with Meta’s discriminatory scheme, only the Chinese H-1B

11   visa contractual workers were retained by the company (despite the fact that other team members had
12   comparable experience and tenure working for Meta than those individuals). Examples of visa
13
     employees who were retained by Meta include Keer Huang and Jingyuan Lin.
14
            83.     Further, Mr. Webb and his colleagues, who were also U.S. citizens and contractual
15
     workers, were treated more harshly by Ms. Zheng than their Chinese visa-dependent colleagues. For
16

17   instance, Mr. Webb was once reprimanded for his “communication style,” where he adopted a more

18   conversational tone in early documents he worked on. However, once Mr. Webb learned that his

19   manager preferred a highly formal and bullet-point centric style for documents, he quickly modified
20
     his tone and adhered to this preferred style. Chinese visa workers, on the other hand, were allowed to
21
     submit poorly formatted documents that, while they adhered to the bullet point style, were riddled
22
     with analytical errors and grammatical mistakes, without reprimand. In addition, when Mr. Webb
23
     proposed a new metric framework to estimate the risks of security vulnerabilities after the team had
24

25   been asked repeatedly by Ms. Zheng to create better and more creative metrics for such applications,

26   Ms. Zheng flatly dismissed Mr. Webb’s proposal, failing to consider it and offering a few perfunctory
27   style criticisms. Similarly, when Mr. Webb later proposed a new way of viewing existing metrics, his
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     proposal was again dismissed by Ms. Zheng, without justification. Ms. Zheng’s pattern of
 1

 2   discrimination extended to hiring decisions as well. In the latter months of Mr. Webb’s tenure with

 3   Meta, his team and the broader Enterprise organization within Meta made a push to hire more Data
 4   Scientists. As the most senior Data Scientist on the team, Mr. Webb was asked to interview top
 5
     candidates that Crystal Equation Corporation was considering hiring to work as contractors for Meta.
 6
     Following these interviews, Mr. Webb (and his colleagues who assisted in the interview process)
 7
     recommended two well-qualified candidates for hire who, upon information and belief, were both
 8

 9   U.S. citizens. Ms. Zheng later rejected both candidates with no explanation.

10          84.     In late July 2024, Mr. Webb received a call from Rafal Decowski, an employee of

11   Crystal Equation Corporation to whom Mr. Webb reported to on the Crystal Equation Corporation
12   side for Human Resources purposes that was also attended by a Human Resources Representative
13
     from Crystal Equation Corporation. On that call, Mr. Webb was informed that his contract with Meta
14
     was being discontinued on August 9, 2024. When Mr. Webb asked whether he could be transferred
15
     to another team within Meta as his data scientist skills were in demand, as Crystal Equation
16

17   Corporation had been actively trying to hire additional data scientists to service Meta, he was

18   explicitly told that Ms. Zheng was not allowing him to transfer to another team. Mr. Webb’s Korean

19   colleague (also a U.S. citizen) received the same fate a few months earlier, and like Mr. Webb, was
20
     terminated rather than being retained as Meta employees like visa-dependent contractual workers on
21
     the team. Some months after Mr. Webb’s departure from Meta, all contractual technical workers on
22
     his team, with the exception of Chinese visa workers, were terminated and were denied transfer to
23
     other internal teams at Meta. The two Chinese visa employees who were retained by Meta were
24

25   allowed to transfer internally to other teams and remained employed by Meta.

26          85.     Mr. Webb’s termination by Meta—and its failure to hire him—came just months after
27   Mr. Webb had received four recruiting emails from Jack Charlton, a Meta Sourcer supporting the
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     infrastructure and product pipelines at Meta, asking Mr. Webb if he would be interested in Machine
 1

 2   Learning Senior Tech roles, noting that he was “super interested in [Mr. Webb’s] experience.” In

 3   addition, just two months prior, on May 23, 2024, Mr. Webb was recruited by Robbie Bobay, a
 4   recruiter for Meta, for E6 machine learning engineering opportunities with Meta. Mr. Webb
 5
     responded that same day, noting that he would be interested in a remote role with Meta (with some
 6
     travel into the Cambridge, MA office), that he was currently working for Meta as a data scientist
 7
     through a managed service company, and that his strengths were in data science and algorithms.
 8

 9   However, as Mr. Webb noted, those skills are adjacent to machine learning, and if he was a potential

10   match for a machine learning role, Mr. Bobay should schedule a conversation. Mr. Webb did not

11   receive a response to his email.
12          86.     Between October 24 and October 30, 2024, Mr. Webb was contacted three times by
13
     Michael Woo, a Technical Recruiter for Meta who was seeking candidates for Tech Lead / Staff
14
     Level Software Engineers for Meta’s machine learning / AI teams. Mr. Woo was based out of
15
     California. Mr. Woo noted in his October 24 email that Mr. Webb had interviewed with Meta
16

17   approximately two years ago, and, on information and belief, knew that Mr. Webb was a U.S. citizen.

18   On October 30, 2024, Mr. Webb responded to Mr. Woo’s outreach, noting that his skills were strong

19   with respect to algorithms, statistics-like work, research, and prototyping, and that he was also fairly
20
     skilled in general software or data engineering in the right setting. Mr. Webb also shared that while
21
     he does have somewhat dated research contributions to machine learning, he does not hold Ph.D.,
22
     and that his software engineering skills were not quite as strong as someone who spent their entire
23
     career as a software engineer.
24

25          87.     Mr. Webb then had a telephone call with Mr. Woo on November 7, 2024 where he

26   discussed his past experience and skill set. On that call, Mr. Woo stated that he had both Data Scientist
27   and Machine Learning roles available, and that in his view, Mr. Webb’s skill set made him a strong
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     candidate for Machine Learning roles even though his career has primarily been focused in data
 1

 2   science. Mr. Webb agreed to move forward with the interview process for a Software Engineer,

 3   Machine Learning position with the company.
 4           88.   Mr. Webb was then scheduled for a 1-hour virtual interview with Meta that consisted
 5
     of coding and behavioral portions. Prior to that interview, Mr. Webb received an email on November
 6
     12, 2024, asking him to “complete the required U.S. Work Authorization form,” which Mr. Webb
 7
     completed, confirming that he did not require sponsorship to work in the U.S.
 8

 9           89.   On November 25, 2024, Mr. Webb completed his virtual interview with Meta. The

10   following day, Mr. Webb emailed Mr. Woo, informing him that the interview went well and asking

11   when they might be able to schedule the full loop interview, assuming he passed the prior interview
12   round. On December 2, 2024, Mr. Webb received an email from Mr. Woo, thanking him for meeting
13
     with its engineers, but informing him that Meta had decided not to move forward with his candidacy.
14
     When Mr. Webb asked whether any feedback was given by his interviewer, as, in his view, the
15
     interview went well, and inquired as to the policy on applying to other roles with Meta (machine
16

17   learning or otherwise). Mr. Woo responded that “[u]nforutnately the interviewers don’t share

18   feedback with the recruiting team,” and stated that Mr. Webb could not apply to Meta again for

19   another year given the “cooling period” after his interview. Mr. Woo did not submit Mr. Webb for a
20
     Data Scientist role with Meta despite such roles being open and Mr. Webb’s extensive experience in
21
     this area.
22
             90.   On January 21, 2025, Mr. Webb was contacted by Avneet Grewall of Mindlance, a
23
     third-party recruiter for Meta, via LinkedIn regarding a Data Analyst role with Meta. Mr. Grewall
24

25   then scheduled a telephone call with Mr. Webb that same day where they discussed his background

26   and experience, and Mr. Webb expressed interest in the Data Analyst role. During that call, Mr.
27

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     Grewall asked Mr. Webb the name of his prior Meta manager, and Mr. Webb provided that
 1

 2   information.

 3          91.     Later that day, Mr. Webb submitted his resume to Mr. Grewall for the position, and
 4   granted Mr. Grewall permission to submit an application to Meta on his behalf. Mr. Webb was well
 5
     qualified for the role, and met the minimum, preferred, and hard skill requirements listed in the job
 6
     description. Specifically, Mr. Webb has the requisite 4+ years of experience designing, running, and
 7
     presenting data analysis and 3+ years of querying data or performing statistical analysis (minimum
 8

 9   qualifications). In addition, Mr. Webb holds a Bachelor’s Degree in Computer Science and a graduate

10   degree in a related field, Computer Science – Machine Learning (preferred qualifications). Further,

11   Mr. Webb is able to code in SQL, has the requisite presentation skills, and data analytic skills (top
12   hard skills). Shortly after Mr. Grewall submitted Mr. Webb’s application to Meta, he stopped
13
     contacting Mr. Webb, and when Mr. Webb inquired as to the status of his application, Mr. Grewell
14
     stated either that he had not heard anything from Meta or his outreach was ignored completely. Mr.
15
     Grewall eventually stopped responding to Mr. Webb. Mr. Webb was not interviewed, nor hired, by
16

17   Meta for this Data Analyst role.

18          92.     Mr. Webb was highly qualified for the roles he applied to with Meta given his strong

19   background in data science, experience with machine learning, and prior work experience with Meta
20
     as a contractual employee. However, upon information and belief, Meta did not hire Mr. Webb for a
21
     full-time role when he performed contractual work for the company as Meta preferred to hire visa
22
     workers for full-time employment from its third-party vendors. Further, upon information and belief,
23
     the additional roles Mr. Webb was rejected for by Meta were reserved for visa employees who Meta
24

25   wished to work permanently in the U.S. Meta did not hire Mr. Webb because of his citizenship, and

26   Mr. Webb would have been hired absent Meta’s systematic preference for visa holders in hiring for
27   certain U.S. positions. Like the other Plaintiffs, Mr. Webb was a victim of Meta’s ongoing
28
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     discriminatory scheme whereby he was not hired for a permanent position within the company that
 1

 2   Meta had earmarked for its visa holders (the very same conduct at issue in the DOJ’s multi-year

 3   investigation of Facebook, resulting in a complaint being filed against Facebook (a lawsuit that
 4   ultimately settled)). And Mr. Webb was foreclosed from applying to other positions with Meta that
 5
     matched his skillset, which Meta did not proactively contact him for, and instead advertised only in
 6
     more obscure locations, such as in newspapers.
 7
                                     CLASS ACTION ALLEGATIONS
 8

 9          93.     Plaintiffs brings this Class Action pursuant to Federal Rule of Civil Procedure 23(a),

10   (b)(2), (b)(3), and (c)(4), seeking injunctive, declaratory, equitable, and monetary relief for Meta’s

11   systematic pattern and practice of discrimination against U.S. citizens and non-visa holding
12   individuals in the United States. This action is brought on behalf of the following class:
13
            All individuals who are not visa holders who applied for the following positions with
14          (or within) Facebook and/or Meta in the U.S., either directly or through a third party
15          vendor, and were not hired: Software Engineer, Research Scientist, Data Scientist, Data
            Engineer, Data Analyst, Engineer, Engineering Manager, Machine Learning, and PLM
16          roles.

17          All individuals who are not visa holders who were employed by Facebook and/or Meta
            in the U.S., either directly or through a third-party vendor (e.g., Crystal Equation
18          Corporation, Infosys, and others), and were terminated.
19
            94.     Members of the classes are so numerous and geographically dispersed across the
20
     United States that joinder is impracticable. While the exact number of class members is unknown to
21
     Plaintiffs, it is believed to be in the thousands. Furthermore, class members are readily identifiable
22
     from information and records in Meta’s possession.
23
            95.     There are numerous questions of law and fact common to members of the classes.
24
     Among the common questions of law or fact are: (a) whether Meta has intentionally discriminated
25
     against individuals who are not visa holders (i.e., citizens) in making hiring/termination decisions;
26
     (b) whether Meta has intentionally favored visa holders in hiring/termination decisions, and/or
27
     whether Meta has intentionally disfavored non-visa holders (i.e. citizens) in hiring/termination
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 1   decisions; (c) whether Meta’s policy and practice of relying on visa holders is intentionally
 2   discriminatory; (d) whether Meta has violated § 1981; (e) whether equitable and injunctive relief is
 3   warranted for the classes; and (f) whether compensatory and/or punitive damages are warranted for
 4   the classes.
 5           96.    Plaintiffs’ claims are typical of the classes. Members of the classes were damaged by
 6   the same discriminatory practices employed by Meta.
 7           97.    Plaintiffs will fairly and adequately protect the interest of other class members because
 8   they have no interest that is antagonistic to or which conflicts with those of any other class member,
 9   and Plaintiffs are committed to the vigorous prosecution of this action and have retained competent
10   counsel experienced in class litigation to represent Plaintiffs and the classes.
11           98.    Plaintiffs and the classes they seeks to represent have suffered substantial losses in
12   earnings and other employment benefits and compensation as a result of Meta’s actions.
13           99.    Class certification is appropriate pursuant to Federal Rule of Civil Procedure 23(b)(2)
14   because Meta has acted and/or refused to act on grounds generally applicable to the classes, making
15   declaratory and injunctive relief appropriate with respect to Plaintiffs and the classes as a whole.
16   Members of the classes are entitled to declaratory and injunctive relief to end Meta’s systematic,
17   common, uniform, unfair, and discriminatory policies and practices.
18           100.   Class certification is appropriate pursuant to Federal Rule of Civil Procedure 23(b)(3)
19   because the issue of liability is common to the classes and the common nucleus of operative facts
20   forms the central issue, which predominates over individual issues of proof. The primary question
21   common to the classes is whether Meta has discriminated on the basis of citizenship in its hiring
22   practices. This question is central to the case and predominates over individual issues among the
23   members of the proposed classes. Meta has engaged in a common course of discriminatory conduct
24   in a manner that has harmed all class members. Class certification under Rule 23(b)(3) would be
25   superior to other methods for fair and efficient resolution of the issues because certification will avoid
26   the need for repeated litigation by each individual class member. The instant case will be eminently
27

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 1   manageable as a class action. Plaintiffs know of no difficulty to be encountered in the maintenance
 2   of this action that would preclude its maintenance as a class action.
 3          101.    Class certification is appropriate pursuant to Federal Rule of Civil Procedure 23(c)(4)
 4   to litigate Plaintiffs’ claims for prospective classwide compliance and affirmative injunctive relief
 5   necessary to eliminate Meta’s discrimination. Certification under this rule is also appropriate to
 6   decide whether Meta has adopted a systemic pattern and practice of citizenship discrimination in
 7   hiring. Certification under this rule is also appropriate to determine classwide damages, including
 8   punitive damages.
 9                                             COUNT I
             Disparate Treatment on the Basis of Citizenship in Violation of 42 U.S.C. § 1981
10
                                (On behalf of Plaintiffs and the Class)
11          102.    Plaintiffs re-allege each preceding paragraph as though fully set forth herein.
12          103.    This claim is brought by Plaintiffs on behalf of themselves and the classes.
13          104.    Throughout the class liability period, Meta (formerly Facebook) has engaged in a
14   pattern and practice of discriminating against individuals who are not visa holders (i.e., citizens) by:
15   (a) knowingly and intentionally favoring individuals with visas in job placement (i.e., hiring/staffing)
16   decisions and termination decisions, and (b) knowingly and intentionally disfavoring individuals who
17   are not visa holders (including Plaintiffs) in job placement (i.e., hiring/staffing) decisions and
18   termination decisions.
19          105.    As a direct and proximate result of Meta’s intentional discrimination, Plaintiffs and
20   class members have been denied employment and positions with Meta and/or terminated from Meta
21   positions. And but for Meta’s discrimination, Plaintiffs and class members would not have been
22   denied employment and positions with Meta or otherwise terminated from Meta.
23          106.    Meta’s actions constitute unlawful discrimination on the basis of citizenship in
24   violation of 42 U.S.C. § 1981.
25                                         PRAYER FOR RELIEF

26          WHEREFORE, Plaintiffs and the class pray for relief as follows:
27          a.      Certification of the case as a class action pursuant to Fed. R. Civ. P. 23;
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             b.      Designation of Plaintiffs as representative of the class;
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 2           c.      Designation of Plaintiffs’ counsel as counsel for the class;

 3           d.      A declaratory judgment that the practices complained of herein are unlawful and
                     violates the Civil Rights Act of 1866, 42 U.S.C. § 1981;
 4
             e.      A permanent injunction against Defendant and its officers, agents, successors,
 5                   employees, representatives, and any and all persons acting in concert with them, from
                     engaging in unlawful policies, practices, customs, and usages set forth herein;
 6
             f.      Order Defendant to adopt a valid, non-discriminatory method for hiring, staffing, and
 7
                     other employment decisions;
 8
             g.      Order Defendant to post notices concerning its duty to refrain from discriminating
 9                   against employees on the basis of citizenship;

10           h.      Award Plaintiffs and the Class damages – including (without limitation)
                     compensatory, exemplary, and punitive damages for the harm they suffered as a result
11                   of Defendant’s violations of § 1981;
12
             i.      Award Plaintiffs and the Class pre- and post-judgment interest at the prevailing rate
13                   on the compensatory damages as a result of Defendant discriminating against them in
                     violation of § 1981;
14
             j.      Award Plaintiffs and the Class front- and back-pay, instatement, and such other
15                   equitable relief as the Court deems just and appropriate;
16           k.      Award reasonable attorneys’ fees, expert witness fees, expenses, and costs of this
                     action and of prior administrative actions; and
17

18           l.      Award Plaintiffs and the Class such other relief as this Court deems just and
                     appropriate.
19

20                                           JURY TRIAL DEMAND

21           Pursuant to Fed. R. Civ. P. 38, Plaintiffs and the Class respectfully demand a trial by jury on

22   all issues properly triable by a jury in this action.

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     DATED:   March 26, 2025                 Respectfully submitted,
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